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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

IN RE:

      HINTZE, MATTHEW BRUCE and              Case No. 12-10462-KKS
      HINTZE, LARINA K.                               Chapter 7

            Debtors.
___________________________________/

THERESA M. BENDER, as Trustee and as
Managing Member of TutoringZone, LC,
and TUTORINGZONE, LC, a Florida
Limited Liability Company,

             Plaintiffs,

vs.                                          Adv. No. _____________

MATTHEW BRUCE HINTZE, LARINA
K. HINTZE, PAUL HINTZE, BRUCE
HINTZE, TUTORINGZONE II, LLC, a
Florida Limited Liability Company,
CYNTHIA    L.   FRENCHMAN     and
CHRISTOPHER M. JAMES,

             Defendants.

———————————————————————————————————————
                COMPLAINT

      COMES NOW, THERESA M. BENDER as Chapter 7 Trustee of the Bankruptcy Estate

of Matthew Bruce Hintze and Larina K. Hintze and as managing member of TutoringZone, LC,

and TUTORINGZONE, LC, a Florida Limited Liability Company, and through the undersigned

counsel files this Complaint against Defendants, MATTHEW BRUCE HINTZE, LARINA K.

HINTZE, PAUL HINTZE, TUTORINGZONE II, LLC, a Florida Limited Liability Company,

CYNTHIA L. FRENCHMAN, and CHRISTOPHER M. JAMES, pursuant to Federal Rule of

Bankruptcy Procedure 7001(2), (9); 28 U.S.C. §§ 157, 544, 547, 548, 1334, 1652, 2201; and



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sections 68.04, 86.011 et seq., 608.4225, and 726.105 et seq. of the Florida Statutes, and states as

follows:

                                     Jurisdiction and Venue

       1.      On November 1, 2012 (“the Petition Date”), Debtors Matthew Bruce Hintze and

Larina K. Hintze (“the Debtors”) filed a voluntary, joint petition (“the Petition”) for relief under

Chapter 7 of Title 11 of the United States Code, 11 U.S.C. § 101 et seq. (“the Bankruptcy Code”)

in the above-styled Court.

       2.      Theresa M. Bender (“the Trustee”) has been duly appointed as the Chapter 7

Trustee for the Debtors’ Bankruptcy Estate (“the Bankruptcy Estate”).

       3.      TutoringZone, LC (“TutoringZone”) is a Florida Limited Liability Company

previously doing business in Florida. The Debtors scheduled TutoringZone as being solely

owned by Matt Hintze according to the Petition and the Debtors’ amended Schedule B.

Accordingly, and notwithstanding the disputes presented below, the Trustee facially succeeded

to full ownership and has the authority to bring an action on behalf of TutoringZone.

       4.      TutoringZone II, LLC (“TZ2”) is a Florida Limited Liability Company previously

doing business in Florida. TZ2 acquired all of TutoringZone’s intellectual property pre-petition.

TZ2 currently operates the business formerly operated by TutoringZone by applying its

intellectual property and service marks in continuation of the business.

       5.      Christopher M. James (“Mr. James”) is a Creditor of the Bankruptcy Estate. Mr.

James claims a security interest in all of the personal property owned by the Debtors. Mr. James

also claims a security interest in all of the personal and intellectual property owned by

TutoringZone. Finally, Mr. James is the 100% owner of co-defendant TZ2.




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       6.      Paul Hintze is a Florida citizen and resident.          Paul Hintze is the brother of

Matthew Hintze. Paul Hintze has worked as an employee of both TutoringZone and TZ2. Paul

Hintze may claim an interest in TutoringZone.

       7.      Bruce Hintze is a Florida citizen and resident. Bruce Hintze is the father of

Matthew Hintze. Bruce Hintze was listed as a pre-petition creditor of the Debtors but declined to

file a proof of claim before the claims-bar deadline. Bruce Hintze may claim an interest in assets

of TutoringZone.

       8.      Cynthia L. Frenchman is a citizen and resident of the State of California. Ms.

Frenchman is a business associate of Christopher M. James, serving as a point of contact and

personnel manager for his business CMJ Consulting, Inc.

       9.      This is an adversary proceeding pursuant to Rules 7001(1), 7001(2), 7001(4),

7001(7), and 7001(9) of the Rules of Bankruptcy Procedure.

       10.     This adversary proceeding seeks a variety of alternative determinations relating to

property of the Bankruptcy Estate, the recovery of property related to the Bankruptcy Estate, and

a potential objection to discharge, and thus arises out of Title 11 of the United States Code, as

well as arising in and relating to the above styled case.

       11.     Accordingly, this Court has jurisdiction over this adversary proceeding pursuant

to 28 U.S.C. §§ 157, 1334, 1652 & 2201; 11 U.S.C. §§ 548 & 727; and sections 68.04, 86.011 et

seq. & 726.105 et seq. of the Florida Statutes.

       12.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(1), (b)(2)(A), (b)(2)(H),

(b)(2)(J), (b)(2)(K), and (b)(2)(O).

       13.     Venue of the Debtors’ Chapter 7 case and of this adversary proceeding is proper

in this district pursuant to 28 U.S.C. §§ 1408-1409.




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                                       Factual Allegations

Pre-Petition Facts

       14.     Prior to 2011, TutoringZone was owned jointly between Matthew Hintze and non-

party Ethan Fieldman. Mr. Fieldman is a third-party defendant to the adversary proceeding case

number 13-01007 related to Administrative Case captioned above.

       15.     As alleged in Proof of Claim 22, on November 10, 2010, the Debtors executed

and delivered a promissory note to Mr. James in the principal amount of $375,000.00 at 12%

interest maturing within one year. The note purports to be secured by an interest “in all of

Maker’s assets.” In adversary proceeding case number 14-01001 related to the Administrative

Case captioned above, the Trustee has challenged the validity of the security interest. The

resolution of that proceeding does not affect the issues in this complaint. A true and correct copy

of the promissory note is attached hereto as Exhibit 1.

       16.     As more fully described in Debtors’ Counterclaims in adversary proceeding case

number 13-01007 (the “Counterclaims”), Matthew Hintze and Mr. Fieldman became unable to

manage TutoringZone together, filed respective lawsuits, and resolved the lawsuits by a process

that allowed each to bid for the other’s interest in TutoringZone and related entities. Matthew

Hintze had the higher bid.

       17.     On May 27, 2011, Matthew Hintze and Ethan Fieldman executed a final

settlement agreement effectuating the bid, at which point Matthew Hintze became the sole 100%

owner and manager of TutoringZone.

       18.     No operating agreement applicable to TutoringZone has been created to manage

the rights of TutoringZone’s members.




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       19.     As part of the process by which Matthew Hintze raised the money to fund his

successful bid, Matthew and Larina Hintze executed a series of promissory notes to certain

investors. These investors required the creation of an Advisory Committee for TutoringZone

consisting of four members: Matthew Hintze as CEO of TutoringZone, and three investors—

David Whitney, John Spence, and Kevin Ogilby.             All of the committee members agreed,

accepted, and executed a letter agreement dated June 7, 2011 confirming this understanding.

       20.     As a result of the execution of these notes and the overvaluation of TutoringZone,

the Debtors became insolvent as a result of the transactions.

       21.     On June 29, 2011, Matthew Hintze caused to be filed an amendment with the

Florida Division of Corporations enclosing Articles of Amendment that amended the managing

members of TutoringZone by removing Ethan Fieldman as a managing member. A true and

correct copy of the June 29, 2011 amendment is attached hereto as Exhibit 2.

       22.     On July 5, 2011, Matthew Hintze caused to be filed an amendment with the

Florida Division of Corporations enclosing Articles of Amendment that amended the managing

members of TutoringZone by adding Paul Hintze and Larina Hintze as managing members. No

formal transfer or exchange of value accompanied the addition of new members. Instead, the

new members were added solely on the advice of professionals to decrease exposure to remedies

against single-member LLCs under Florida law. A true and correct copy of the July 5, 2011

amendment is attached hereto as Exhibit 2.

       23.     At the time of the amendment, Paul Hintze was an employee of TutoringZone.

       24.     TutoringZone was not successful following the settlement agreement. On or

about April or May 2012, the Debtors held a meeting with certain investor creditors “offer[ing]

favorable treatment to any of the creditors willing to advance additional capital to try to save the




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business,” as alleged by the Debtors in the Counterclaims. None of the requested investor

creditors provided funds.

       25.     On May 22, 2012, TutoringZone as lessor executed an Intellectual Property Lease

in favor of Mr. James and Ms. Frenchman.             The Debtors alleged that the purpose of the

transaction was that Mr. James and Ms. Frenchman “advance[d] $75,000.00 in emergency

capital to help TutoringZone meet current expenses,” as alleged by the Debtors in the

Counterclaims. A true and correct copy of the Intellectual Property Lease is attached hereto as

Exhibit 4.

       26.     Mr. James was the exclusive source of any funds provided as consideration to the

Intellectual Property Lease.

       27.     In exchange, the Intellectual Property Lease granted to Mr. James and Ms.

Frenchmen an assignable, non-exclusive ten-year lease of the intellectual property of

TutoringZone with the option to renew the lease in perpetuity for ten year terms at the fixed cost

of $10,000 per ten year terms with no provision made for inflation. The lease contemplated use

of the intellectual property by TZ2, an entity that was not registered and authorized to do

business in the state of Florida until July 3, 2012. The Debtors have previously alleged that they

agreed at this time “to allow their personal property, such as it was, to be liened as additional

consideration” for the November 20, 2010 note. No security interest was created as part of the

transaction, either over the assets of TutoringZone or the assets of the Debtors. It was also

allegedly agreed at this time that if TutoringZone could not be stabilized, that TutoringZone

would transfer its intellectual property permanently for additional consideration.

       28.     TutoringZone was not stabilized by this infusion of capital.




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       29.     It was not plausible and was not contemplated by the Debtors or Mr. James that

$75,000 would be sufficient to stabilize the company at that time given TutoringZone’s financial

circumstances. At a May 2012 meeting, the Debtors provided information on the status of

TutoringZone in which it asserted that besides the obligations to investors incurred as a result of

the earlier bidding process, the debt related to TutoringZone then included $475,000 owed to

Chris James (at least $275,000 of which was matured debt accruing at 18% or $49,500 annually);

$222,167.72 in business loan and line-of-credit debt; $18,386.27 in business credit card debt,

$478,189.00 owed on a business real-estate lease with approximately 50 months remaining; and

$185,334.50 owed on a business-equipment financing relationship.

       30.     Nor was it plausible and contemplated by the Debtors or Mr. James that $75,000

was reasonable value of a non-exclusive lease of TutoringZone intellectual property, except

insofar as TutoringZone itself was contemplating dissolution and would no longer exist as

competition for TZ2.       The Intellectual Property Lease required that Mr. James and Ms.

Frenchman, or any affiliated entity, “may not explicitly hold themselves out to be Lessor or to be

affiliated with Lessor” while at the same time permitting full use of TutoringZone’s service

marks and prior intellectual property.

       31.     At a May 2012 meeting, the Debtors provided an outline through meeting notes

certain methods of resolving TutoringZone, each of which involved the personal bankruptcy of

the Debtors and each of which involved a mechanism for protecting the intellectual property of

TutoringZone through a new company. A true and correct copy of the meeting notes is attached

hereto as Exhibit 5.

       32.     On June 4 2012, a mere thirteen days after the execution of the Intellectual

Property Lease, the Debtors effectuated this proposal by agreeing to the sale of TutoringZone




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assets. TutoringZone agreed to sell its intellectual property to TZ2 for the consideration of

$200,000.00, with an offset for amounts that TutoringZone owed TZ2.              TZ2 was solely

controlled by Mr. James, who later hired the Debtors and other TutoringZone employees to

perform similar if not identical work. As a result, to outside consumers, the Tutoring Zone entity

as a going concern appeared to continue in business without significant interruption. A true and

correct copy of the Intellectual Property Transfer Agreement is attached hereto as Exhibit 6.

       33.     Mr. James knew at the time he executed the Intellectual Property Transfer

Agreement that TZ2 had not been formed with the Florida Division of Corporations.

TutoringZone did not have actual knowledge of the lack of formation, however. A true and

correct copy of the documents forming TZ2 are attached hereto as Exhibit 7.

       34.     The Intellectual Property Transfer Agreement and related documents do not

disclose any debt or basis for formation of a security interest. Nor does the Intellectual Property

Transfer Agreement reflect on its face any interest of Mr. James.

       35.     On or about June 11, 2012, Mr. James caused to be filed a UCC-1 filing claiming

that he individually owned a security interest in certain property of TutoringZone, LC. A true

and correct copy of the UCC-1 filing is attached hereto as Exhibit 8.

       36.     Specifically, Mr. James claimed an interest in “All personal and intellectual

property owned by the Debtor [TutoringZone], including but not limited to the intellectual

property described on the attached Schedule A.” The attached Schedule A to the UCC-1 filing is

substantively identical to the Schedule A attached to the Intellectual Property Transfer

Agreement, although the footers of the documents have changed and the subheading was

changed from “Intellectual Property” in the Transfer Agreement to “Intellectual Property

Collateral” in the UCC-1 filing.




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       37.     Accordingly, Mr. James falsely asserted a security interest in intellectual property

that he knew or had reason to know no longer belonged to TutoringZone but instead belonged to

TZ2 by virtue of a transfer executed by Mr. James himself a week before the UCC-1 filing.

       38.     Despite the fact that all right, title, and interest in the intellectual property of

TutoringZone had been transferred to TZ2 as of the “Execution Date” of the Intellectual Property

Agreement, June 4, 2012, TutoringZone continued to utilize the intellectual property and operate

under the business marks through the end of the Summer 2012 semester. TZ2 took no action

against TutoringZone for this unauthorized activity.

       39.     At the conclusion of the Summer 2012 semester, TutoringZone as a business

continued without interruption under the new management of TZ2. Notwithstanding the lack of

provision for physical assets of TutoringZone in any document including the Intellectual

Property Transfer Agreement, TZ2 took possession of non-intellectual personal property in the

conduct of the business.

       40.     At no time was any equity interest in TutoringZone delivered to any employee of

TutoringZone based on service. Instead, employees of TutoringZone were invited to continue

employment with the continued business TZ2.

       41.     Neither TutoringZone nor any of its business creditors received the benefit of the

$200,000.00 consideration recited in the Intellectual Property Transfer Agreement. Instead, Mr.

James effectuated the transfer by forgiving $200,000.00 of debt personal to the Debtors.

       42.     Mr. James was owed amounts by TutoringZone for alleged payroll advances in

May 2012 and the “pro-rata un-used portion of the Lease Payment” provided in the termination

provision of the Intellectual Property Lease, if in fact such provision was ever invoked. No such

offset was applied to the debt forgiveness given to the Debtors.




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       43.     TutoringZone was not formally wound down or dissolved but was no longer

operated by any person due in part to the dispute described herein.                  The entity was

administratively dissolved by the State of Florida on September 27, 2013 and otherwise brings

actions here as part of it obligation to wind down the affairs of the entity.

Post-Petition, Pre-Notice of Sale Facts

       44.     On November 1, 2012, the Debtors filed a voluntary petition for relief under

Chapter 7 of the Bankruptcy Code (the “Petition”). The Petition, filed at docket number 1 of the

administrative case captioned above, included a summary of schedules (the “Initial Schedules”)

noting $603,423.97 in assets and $2,676,959.68 in liabilities.

       45.     The Initial Schedules provided that the Husband solely owned a 100% interest in

TutoringZone, LC, and valued the interest at $100.00. The schedules provided that the value to

the Bankruptcy Estate was zero because liabilities exceeded assets.             Moreover, the Initial

Schedules recite that Mr. James “has a recorded UCC-1 which attaches to all of the personal and

intellectual property owned by this entity.” The Debtors sought to exempt their $100.00 interest

as personal property under the Florida Constitution’s allowance for limited personal-property

protection.

       46.     The Initial Schedules listed a variety of personal property assets as either jointly

owned, owned by the husband, or owned by the wife as the circumstances dictated.

       47.     The Initial Schedules listed a total of $10,872.00 in personal property.           On

Schedule D of the Initial Schedules, the Debtors listed that Mr. James was a secured creditor

over all personal property of the Debtors in the amount of $10,872.00 as a result of an obligation

incurred on November 10, 2010.




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        48.      Schedule F of the Initial Schedules listed Mr. James as an unsecured creditor in

the amount of $275,000.00 for a debt incurred on May 12, 2011. A true and correct copy of a

promissory note dated May 12, 2011 is attached hereto as Exhibit 9.

        49.      The Debtors’ Statement of Financial Affairs included within the Petition

identified certain transfers related to TutoringZone made within two years of the filing of the

Petition.     The Debtors identified the June 4, 2012 transfer for intellectual property from

TutoringZone to TZ2.       The Debtors identified no transfer of any membership interest in

TutoringZone from November 1, 2010 forward.

        50.      Mr. James filed no proof of claim within the time permitted by the Bankruptcy

Code.

        51.      On May 31, 2013, the Debtors filed an amended Schedule B and Summary of

Schedules, filed at docket numbers 108 and 110 (corrective filing) of the administrative case

captioned above, increasing the value of certain personal property to $21,164.97 total. The filing

continued to list TutoringZone as 100% owned by the husband, Matthew Hintze. On the same

day, the Debtors filed a declaration at docket number 111 affirming that “[t]he information

contained in the [Amended Summary of Schedules with Amended Schedule B - Personal

Property] is true and correct to the best of our knowledge and belief.”

        52.      On September 13, 2013, the Debtors filed an amended Schedule F and Summary

of Schedules, filed at docket number 149 of the administrative case captioned above. The filing

made no mathematical changes but amended Schedule F to reflect that certain creditors’ claims

were disputed, including the claims of Mr. James and all creditors whose claims could be tied to

the funding raised for bidding purposes.




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       53.     The Debtors have not disclosed any substantial income or transfer from

TutoringZone to themselves in anticipation of bankruptcy or concurrent with or following the

execution of the Intellectual Property Transfer Agreement.

       54.     No other amendments of the bankruptcy schedules have been filed.

Post-Notice of Sale Facts

       55.     On September 23, 2013, the Trustee filed the Report and Notice of Intention to

Sell Property of the Estate by Private Sale (the “Notice of Sale”), filed at docket number 155 of

the administrative case captioned above. The Notice proposed to sell the “Debtors’ 100%

membership interest in TutoringZone, LC for the sum of $10,000.00” to an entity named TZ

Acquisition, LLC.

       56.     On September 30, 2013, after the deadline to file proofs of claim had passed, the

creditor Mr. James filed Proof of Claim 22 seeking a secured amount of $508,520.55 based on a

note dated November 10, 2010 and a UCC-1 filing dated June 11, 2012. The validity of the

asserted lien is the subject of a separate adversary proceeding and is not relevant to this matter.

       57.     On October 14, 2013, the Debtors filed an objection to the Notice of Sale, filed at

docket number 171 of the administrative case captioned above (the “First Debtor Objection”).

The objection asserted that the Trustee “has no ability under the law to sell a Debtors’ joint LLC

‘100%’ membership interest outright.” (emphasis added). The objection argued that the Trustee

was limited to her right to receive distributions absent an assumption of the operating agreement

as an executory contract.”

       58.     The First Debtor Objection contradicted earlier testimony of Matthew Hintze. In

his initial 2004 examination conducted on April 15, 2013, Matthew Hintze explained that he was




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the 100% owner of TutoringZone and that he considered, for the purposes of contract, that he

was “one and the same” as TutoringZone.

        59.      The First Debtor Objection was at least partially consistent with other earlier

testimony of Matthew Hintze. In his continued 2004 examination conducted on May 21, 2013,

Matthew Hintze explained that even though he was the 100% owner of TutoringZone, he

personally considered that he and his wife owned TutoringZone by virtue of their marriage.

When asked why Paul Hintze and Larina Hintze were added as members on the Florida Division

of Corporations website, Matthew Hintze testified that they were added on the advice of

professionals because “we were advised the State of Florida frowns on one member LLCs, and

so I was encouraged to add a family member.” He further testified that Paul Hintze never

received any ownership interest in TutoringZone.

        60.      The 2011 tax returns for TutoringZone confirm that only Ethan Fieldman and

Matthew Hintze were provided with K-1s as having a membership interest during the year 2011.

        61.      On or about October 14, 2013, Mr. James filed an objection to the Notice of Sale,

filed at docket number 172 of the administrative case captioned above. In the objection, Mr.

James contended that the sale sought to sell “household goods” that were subject to his security

interest and that he was improperly being denied the opportunity to credit bit on the membership

interests.    Issues related to credit bidding caused the hearing on the Notice of Sale to be

continued to a hearing on January 9, 2014.

        62.      On January 7, 2014, the Debtors filed an amended objection to the Notice of Sale,

filed at docket number 287 of the administrative case captioned above (the “Amended Debtor

Objection”). The Amended Debtor Objection noted that pursuant to the Florida Division of

Corporations website, that there are “three members of the LLC: Matthew Hintze, Larina Hintze,




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and Paul Hintze.” The Amended Debtor Objection then stated, without providing an explicit

theory, that Florida does “not recognize a transferable personal property interest in the

membership interests of the Debtors.”

        63.       On January 8, 2014, the Trustee withdrew the Notice of Sale, as filed at docket

number 290 of the administrative case.

        64.       On January 9, 2014, the Bankruptcy Court approved the compromise of certain

claims improperly raised by the Debtors, assumed by the Trustee, and compromised by the

Trustee. Such claims related to alleged bad acts taken by certain investors in TutoringZone. All

of the parties recognize that TutoringZone has parallel and similar claims to those compromised

by the Trustee.

        65.       On January 23, 2014, Paul Hintze, purportedly acting on behalf of TutoringZone,

assigned all claims of any kind owned by TutoringZone to Bruce Hintze for the consideration of

$1,000. A true and correct copy of the Assignment, along with the letter from counsel for Bruce

Hintze validating same, is attached hereto as Exhibit A.

        66.       The Trustee was not given notice of the January 23, 2014 assignment prior to its

execution and has otherwise been advised of no actions taken on behalf of TutoringZone by

anyone purported to be acting on its behalf at any time after the Petition was filed.

        67.       The Trustee has not authorized any actions to be taken on behalf of TutoringZone

prior to the filing of this complaint.

        68.       In at least one subsequent hearing, counsel for the Debtors has suggested that it is

necessary to determine the ownership of the TutoringZone membership interests and postulated

the filing of an adversary proceeding on that issue.




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     Count I - Declaratory Judgment (TutoringZone solely owned by Matthew Hintze)

       69.     The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13,

14-23, and 44-68 above.

       70.     This is an adversary proceeding to determine an interest in property and obtain a

declaratory judgment relating to the same under Bankruptcy Rule 7001(2), (9).

       71.     Florida law is applicable to determine the interests of certain persons in a Florida

limited liability company under Chapter 608 of the Florida Statutes. Federal law is applicable to

determine the effect of Florida law on the Bankruptcy Code.

       72.     Based on statements made by the Debtors’ counsel in at least one recent filing and

one recent hearing in the administrative case, there is a bona fide dispute as to the pre-petition

ownership of TutoringZone. Specifically, the Trustee believes that TutoringZone was solely

owned by Matthew Hintze and thus the Trustee succeeded to all right, title, and interest,

including managerial rights and interests, upon the filing of the Petition.

       73.     The pre-petition ownership structure of TutoringZone will affect administration of

the estate because it is one of the few significant assets presumably held by the estate at present.

Accordingly, there is an actual and present need for a declaration as to the pre-petition ownership

structure of TutoringZone.

       74.     Such declaration deals with a present controversy with respect to an ascertainable

state of facts. Specifically, the Trustee asserts that the Debtors’ schedules, testimony, and course

of business dealing dictate that the entity was solely owned while the Debtors have now

suggested—without directly asserting—that the annual LLC statement reflects ownership

interests of Larina Hintze and Paul Hintze.




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        75.     Subject to the alternative counts for specific declarations below, it is believed that

the powers, privileges, and rights associated with ownership in TutoringZone, including but not

limited to the right to settle or prosecute claims, are dependent upon the facts or law applicable to

the facts.

        76.     There are persons who have, or reasonably may have an actual, present, adverse,

and antagonistic interest in the subject matter of this count. Specifically, Paul Hintze and Larina

Hintze may claim interest in TutoringZone and may seek to enforce Florida law to exclude the

Trustee from exercising managerial rights and privileges.

        77.     All antagonistic and adverse interests that the Trustee has been made aware of—

the Debtors being the persons best situated to raise such issues as they have done—are before the

court to resolve the dispute. If any further adverse interests are identified, the Trustee fully

intends to make persons with non-frivolous assertions of interest parties to the dispute.

        WHEREFORE, the Trustee prays for a judgment declaring that at the time of the filing of

the Petition, that TutoringZone was solely owned individually by Matthew Hintze and that all

right, title, and interest in TutoringZone including managerial rights succeeded by operation of

law under 11 U.S.C. § 541 to Theresa Bender as Trustee of the Bankruptcy Estate, and for such

other and further relief as is just and proper.

       Count II - Declaratory Judgment (TutoringZone owned as entireties property)

        78.     The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13,

14-23, and 44-68 above.

        79.     This is an adversary proceeding to determine an interest in property and obtain a

declaratory judgment relating to the same under Bankruptcy Rule 7001(2), (9).




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       80.      Florida law is applicable to determine the interests of certain persons in a Florida

limited liability company under Chapter 608 of the Florida Statutes. Federal law is applicable to

determine the effect of Florida law on the Bankruptcy Code.

       81.      Based on statements made by the Debtors’ counsel in at least one recent filing and

one recent hearing in the Administrative Case, there is a bona fide dispute as to the pre-petition

ownership of TutoringZone. Specifically, the Trustee believes that TutoringZone was solely

owned by Matthew Hintze and thus the Trustee succeeded to all right, title, and interest,

including managerial rights and interests, upon the filing of the Petition.

       82.      This count is filed as an alternative to Count I, along with Counts III and IV.

Because Count I seeks an actual declaration of the pre-petition ownership structure of

TutoringZone, the allegations of the Debtors have suggested multiple possible outcomes. This

count solely addresses the factual finding that TutoringZone was wholly owned by both Debtors

Matthew Bruce and Larina K. Hintze as tenants by the entireties.

       83.      The effect of the findings of the pre-petition ownership structure of TutoringZone

will affect administration of the estate because it is one of the few significant assets presumably

held by the estate at present. In the event that TutoringZone is owned as entireties property,

there is a further dispute as to the authority of the Trustee to manage TutoringZone and sell

whatever interest the Bankruptcy Estate has in TutoringZone. Accordingly, there is an actual

and present need for a declaration as to the effects of the pre-petition ownership structure of

TutoringZone.

       84.      Such declaration deals with a present controversy with respect to an ascertainable

state of facts as determined under Count I. Specifically, the Trustee asserts that Florida law

provides that limited liability company interests may be fully levied where there are no non-




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Debtor members of the limited liability company. If the interest is owned as entireties property,

then it is “solely owned” by a single juridical entity for the purposes of Florida law. Because

that entity—the Debtors as husband and wife—jointly sought bankruptcy protection, entireties

assets fully succeeded to the Bankruptcy Estate and the Trustee can fully manage TutoringZone

and can sell all rights to TutoringZone, including full managerial rights.

        85.       Subject to the alternative counts for specific declarations below, it is believed that

the powers, privileges, and rights associated with ownership in TutoringZone, including but not

limited to the right to settle or prosecute claims, are dependent upon the facts or law applicable to

the facts.

        86.       There are persons who have, or reasonably may have an actual, present, adverse,

and antagonistic interest in the subject matter of this count. Specifically, Matthew Hintze and

Larina Hintze may claim that an entireties interest in TutoringZone reserves managerial rights

and may seek to enforce Florida law to exclude the Trustee from exercising managerial rights

and privileges.

        87.       All antagonistic and adverse interests that the Trustee has been made aware of—

the Debtors being the persons best situated to raise such issues as they have done—are before the

court to resolve the dispute. If any further adverse interests are identified, the Trustee fully

intends to make persons with non-frivolous assertions of interest parties to the dispute.

        WHEREFORE, the Trustee prays for a judgment declaring that at the time of the filing of

the Petition, that in the event that the Court determines that TutoringZone was owned by

Matthew and Larina Hintze as tenants by the entireties, that all right, title, and interest in

TutoringZone including managerial rights succeeded by operation of law under 11 U.S.C. § 541




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to Theresa Bender as Trustee of the Bankruptcy Estate, and for such other and further relief as is

just and proper.

   Count III - Declaratory Judgment (TutoringZone owned jointly but not as entireties)

       88.     The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13,

14-23, and 44-65 above.

       89.     This is an adversary proceeding to determine an interest in property and obtain a

declaratory judgment relating to the same under Bankruptcy Rule 7001(2), (9).

       90.     Florida law is applicable to determine the interests of certain persons in a Florida

limited liability company under Chapter 608 of the Florida Statutes. Federal law is applicable to

determine the effect of Florida law on the Bankruptcy Code.

       91.     Based on statements made by the Debtors’ counsel in at least one recent filing and

one recent hearing in the Administrative Case, there is a bona fide dispute as to the pre-petition

ownership of TutoringZone. Specifically, the Trustee believes that TutoringZone was solely

owned by Matthew Hintze and thus the Trustee succeeded to all right, title, and interest,

including managerial rights and interests, upon the filing of the Petition.

       92.     This count is filed as an alternative to Count I, along with Counts II and IV.

Because Count I seeks an actual declaration of the pre-petition ownership structure of

TutoringZone, the allegations of the Debtors have suggested multiple possible outcomes. This

count solely addresses the factual finding that TutoringZone was jointly owned by both Debtors

Matthew Bruce and Larina K. Hintze as either joint tenants or tenants in common.

       93.     The effect of the findings of the pre-petition ownership structure of TutoringZone

will affect administration of the estate because it is one of the few significant assets presumably

held by the estate at present. In the event that TutoringZone is owned as jointly owned property,




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there is a further dispute as to the authority of the Trustee to manage TutoringZone and sell

whatever interest the Bankruptcy Estate has in TutoringZone. Accordingly, there is an actual

and present need for a declaration as to the effects of the pre-petition ownership structure of

TutoringZone.

       94.      Such declaration deals with a present controversy with respect to an ascertainable

state of facts as determined under Count I. Specifically, the Trustee asserts that Florida law

provides that limited liability company interests may be fully levied where there are no non-

Debtor members of the limited liability company. If the interest is owned jointly with no non-

Debtors, then there is no non-Debtor membership interest to be protected against succession as a

matter of law. Because Florida law only prevents succession of managerial rights to protect the

interest of non-Debtor members, the Petition filed by joint Debtors transferred all rights to the

Bankruptcy Estate. Accordingly, the Trustee can fully manage TutoringZone and can sell all

rights to TutoringZone, including full managerial rights.

       95.      Subject to the alternative counts for specific declarations above and below, it is

believed that the powers, privileges, and rights associated with ownership in TutoringZone,

including but not limited to the right to settle or prosecute claims, are dependent upon the facts or

law applicable to the facts.

       96.      There are persons who have, or reasonably may have an actual, present, adverse,

and antagonistic interest in the subject matter of this count. Specifically, Matthew Hintze and

Larina Hintze may claim that a joint interest in TutoringZone reserves managerial rights and may

seek to enforce Florida law to exclude the Trustee from exercising managerial rights and

privileges.




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       97.     All antagonistic and adverse interests that the Trustee has been made aware of—

the Debtors being the persons best situated to raise such issues as they have done—are before the

court to resolve the dispute. If any further adverse interests are identified, the Trustee fully

intends to make persons with non-frivolous assertions of interest parties to the dispute.

       WHEREFORE, the Trustee prays for a judgment declaring that at the time of the filing of

the Petition, that in the event that the Court determines that TutoringZone was jointly owned by

Matthew and Larina Hintze, that all right, title, and interest in TutoringZone including

managerial rights succeeded by operation of law under 11 U.S.C. § 541 to Theresa Bender as

Trustee of the Bankruptcy Estate, and for such other and further relief as is just and proper.

       Count IV - Declaratory Judgment (TutoringZone with non-Debtor members)

       98.     The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13,

14-23, and 44-65 above.

       99.     This is an adversary proceeding to determine an interest in property and obtain a

declaratory judgment relating to the same under Bankruptcy Rule 7001(2), (9).

       100.    Florida law is applicable to determine the interests of certain persons in a Florida

limited liability company under Chapter 608 of the Florida Statutes. Federal law is applicable to

determine the effect of Florida law on the Bankruptcy Code.

       101.    Based on statements made by the Debtors’ counsel in at least one recent filing and

one recent hearing in the Administrative Case, there is a bona fide dispute as to the pre-petition

ownership of TutoringZone. Specifically, the Trustee believes that TutoringZone was solely

owned by Matthew Hintze and thus the Trustee succeeded to all right, title, and interest,

including managerial rights and interests, upon the filing of the Petition.




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       102.    This count is filed as an alternative to Count I, along with Counts II and III.

Because Count I seeks an actual declaration of the pre-petition ownership structure of

TutoringZone, the allegations of the Debtors have suggested multiple possible outcomes. This

count solely addresses the factual finding that TutoringZone was owned as of the Petition Date at

least in part by some person or entity other than the Debtors.

       103.    The effect of the findings of the pre-petition ownership structure of TutoringZone

will affect administration of the estate because it is one of the few significant assets presumably

held by the estate at present. In the event that TutoringZone is owned in any part by any non-

Debtor members, there is a further dispute as to the authority of the Trustee to manage

TutoringZone and sell whatever interest the Bankruptcy Estate has in TutoringZone.

Accordingly, there is an actual and present need for a declaration as to the effects of the pre-

petition ownership structure of TutoringZone.

       104.    Such declaration deals with a present controversy with respect to an ascertainable

state of facts as determined under Count I. Specifically, the Trustee asserts that section 541(a) of

the Bankruptcy Code requires that all legal or “equitable interests of the Debtor in property” is

transferred to the Bankruptcy Estate upon filing the Petition. The oft-asserted limitation on

remedies for creditors executing against Florida limited liability companies is irrelevant because

management rights are equitable interests and any “charging lien” statute or limitation, or

operating agreement limitation, would be “applicable nonbankruptcy law that restricts or

conditions transfer of such interest” that is nullified under section 541(c)(1)(A) of the Code.

Similarly, section 608.4237 of the Florida Statutes is nullified by section 541(c)(1)(B) of the

Code. Accordingly, the Trustee can fully manage TutoringZone to the extent of the pre-petition

interest that was transferred to the Bankruptcy Estate.




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        105.    Subject to the alternative counts for specific declarations above, it is believed that

the powers, privileges, and rights associated with ownership in TutoringZone, including but not

limited to the right to settle or prosecute claims, are dependent upon the facts or law applicable to

the facts.

        106.    There are persons who have, or reasonably may have an actual, present, adverse,

and antagonistic interest in the subject matter of this count. Specifically, Matthew Hintze and

Larina Hintze may claim that a joint interest in TutoringZone reserves managerial rights and any

other member of TutoringZone may claim the right to exclude non-members from management

authority. Such parties may seek to enforce Florida law to exclude the Trustee from exercising

managerial rights and privileges.

        107.    All antagonistic and adverse interests that the Trustee has been made aware of—

the Debtors and Paul Hintze being the persons best situated to raise such issues as they have

done—are before the court to resolve the dispute. If any further adverse interests are identified,

the Trustee fully intends to make persons with non-frivolous assertions of interest parties to the

dispute.

        WHEREFORE, the Trustee prays for a judgment declaring that at the time of the filing of

the Petition, that in the event that the Court determines that TutoringZone was jointly owned at

least in part by any person other than the Debtors, that all right, title, and interest of Matthew and

Larina Hintze in TutoringZone including managerial rights succeeded by operation of law under

11 U.S.C. § 541 to Theresa Bender as Trustee of the Bankruptcy Estate, and for such other and

further relief as is just and proper.




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    Count V - Fraudulent Transfer § 548(a)(1)(A) (TutoringZone additional members)

       108.     The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13,

14-23, and 44-65 above.

       109.     This is an adversary proceeding to recover property of the estate under

Bankruptcy Rule 7001(1). This count invokes the Trustee’s avoidance powers under 11 U.S.C.

§ 548(a)(1)(A).

       110.     This count is filed as a companion to Count IV and as an alternative to Count I.

Specifically, Count I seeks an actual declaration of the pre-petition ownership structure of

TutoringZone, while Count IV addresses the conclusion that TutoringZone has some member

other than the Debtors.

       111.     This count incorporates the alternative factual finding in Count IV, based on the

Debtors’ assertions that Paul Hintze was a pre-petition member of TutoringZone and addresses

the consequences thereof. The Trustee asserts that this alternative pleading is without prejudice

to the Trustee’s actual position under Count I that no such transfer has occurred.

       112.     On the date of the May 27, 2011 settlement with Ethan Fieldman, Matthew Hintze

had a 100% interest in TutoringZone. Previously, only Matthew Hintze and Ethan Fieldman had

interests in TutoringZone.

       113.     On or about June 5, 2011, and in any event no earlier than May 27, 2011 within

two years of the filing of the Petition, Matthew Hintze caused to be transferred some undisclosed

portion of his interest in TutoringZone to Paul Hintze.

       114.     Any such transfer of some portion of membership interest was not purchased for

value. Nor did Paul Hintze invest in the buyout of Mr. Fieldman’s membership interest in

TutoringZone.




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        115.    Prior to the transfer, the Debtors became highly leveraged on the buyout of the

TutoringZone entity which would have served as the Debtors’ most substantial asset save their

homestead. The Debtors were actually insolvent at the time of the transfer.

        116.    Under oath, Matthew Hintze testified that the only reason to add an additional

member was professional advice that “the State of Florida frowns on one member LLCs, and so I

was encouraged to add a family member.” The only extent to which, in 2011, Florida frowned

on single-member limited liability companies was their susceptibility to execution following the

Florida Supreme Court’s decision in Olmstead v. FTC, 44 So. 3d 76 (Fla. 2010).

        117.    The addition of any members was accomplished for the sole and actual purpose of

hindering and delaying creditors of the Debtors following the Debtors’ highly-leveraged buyout

of TutoringZone. Accordingly, the transfer was made with the intent to hinder, delay, or defraud

a creditor.

        118.    Any such transfer of any membership interest in TutoringZone was made to a

statutory insider, specifically a relative of Matthew Hintze.

        119.    Any such transfer did not affect the overall control structure of TutoringZone,

with Matthew Hintze exercising authority only as constrained by an agreement with other

investors.

        120.    The Trustee reserves the right to amend this count in the event that other

undisclosed transfers are later identified in the course of discovery.

        WHEREFORE, the Trustee prays for a judgment avoiding any transfer of membership

interest in TutoringZone from Matthew Hintze (and to any other later-discovered transferee) and

for such other relief as is just and proper.

    Count VI - Fraudulent Transfer § 548(a)(1)(B) (TutoringZone additional members)




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       121.    The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13,

14-23, and 44-65 above.

       122.    This is an adversary proceeding to recover property of the estate under

Bankruptcy Rule 7001(1). This count invokes the Trustee’s avoidance powers under 11 U.S.C.

§ 548(a)(1)(B).

       123.    This count is filed as a companion to Count IV and as an alternative to Count I.

Specifically, Count I seeks an actual declaration of the pre-petition ownership structure of

TutoringZone, while Count IV addresses the conclusion that TutoringZone has some member

other than the Debtors.

       124.    This count incorporates the alternative factual finding in Count IV, based on the

Debtors’ assertions that Paul Hintze was a pre-petition member of TutoringZone and addresses

the consequences thereof. The Trustee asserts that this alternative pleading is without prejudice

to the Trustee’s actual position under Count I that no such transfer has occurred.

       125.    On the date of the May 27, 2011 settlement with Ethan Fieldman, Matthew Hintze

had a 100% interest in TutoringZone. Previously, only Matthew Hintze and Ethan Fieldman had

interests in TutoringZone.

       126.    On or about June 5, 2011, and in any event no earlier than May 27, 2011 within

two years of the filing of the Petition, Matthew Hintze caused to be transferred some undisclosed

portion of his interest in TutoringZone to Paul Hintze.

       127.    The Debtors did not receive reasonably equivalent value for the transfer because

Paul Hintze tendered nothing of value in exchange for the membership interest transferred.

       128.    At the time of any such transfer, the Debtors were insolvent.

       129.    Any such transfer was made shortly after the Debtors incurred substantial debts.




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        130.    Under oath, Matthew Hintze testified that the only reason to add an additional

member was professional advice that “the State of Florida frowns on one member LLCs, and so I

was encouraged to add a family member.” The only extent to which, in 2011, Florida frowned

on single-member limited liability companies was their susceptibility to execution following the

Florida Supreme Court’s decision in Olmstead v. FTC, 44 So. 3d 76 (Fla. 2010).

        131.    Accordingly, any such transfer of any membership interest in TutoringZone was

made to a statutory insider, specifically a relative of Matthew Hintze, under an employment

contract.

        132.    The Trustee reserves the right to amend this count in the event that other

undisclosed transfers are later identified in the course of discovery.

        WHEREFORE, the Trustee prays for a judgment avoiding any transfer of membership

interest in TutoringZone from Matthew Hintze (and to any other later-discovered transferee) and

for such other relief as is just and proper.

   Count VII - Fraudulent Transfer § 726.105(1)(a) (TutoringZone additional members)

        133.    The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13,

14-23, and 44-65 above.

        134.    This is an adversary proceeding to recover property of the estate under

Bankruptcy Rule 7001(1). This count invokes the Trustee’s strong-arm authority under section

544(b)(1) to bring a claim for those creditors whose claims arose on or before May 27, 2011

under sections 726.105(1)(a) and 726.108(1)(a) of the Florida Statutes.

        135.    This count is filed as a companion to Count IV and as an alternative to Count I.

Specifically, Count I seeks an actual declaration of the pre-petition ownership structure of




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TutoringZone, while Count IV addresses the conclusion that TutoringZone has some member

other than the Debtors.

       136.     This count incorporates the alternative factual finding in Count IV, based on the

Debtors’ assertions that Paul Hintze was a pre-petition member of TutoringZone and addresses

the consequences thereof. The Trustee asserts that this alternative pleading is without prejudice

to the Trustee’s actual position under Count I that no such transfer has occurred.

       137.     On the date of the May 27, 2011 settlement with Ethan Fieldman, Matthew Hintze

had a 100% interest in TutoringZone. Previously, only Matthew Hintze and Ethan Fieldman had

interests in TutoringZone.

       138.     On or about June 5, 2011, and in any event no earlier than May 27, 2011 within

two years of the filing of the Petition, Matthew Hintze caused to be transferred some undisclosed

portion of his interest in TutoringZone to Paul Hintze.

       139.     Any such transfer of some portion of membership interest was not purchased for

value. Nor did Paul Hintze invest in the buyout of Mr. Fieldman’s membership interest in

TutoringZone.

       140.     Prior to the transfer, the Debtors became highly leveraged on the buyout of the

TutoringZone entity which would have served as the Debtors’ most substantial asset save their

homestead. The Debtors were actually insolvent at the time of the transfer.

       141.     Under oath, Matthew Hintze testified that the only reason to add an additional

member was professional advice that “the State of Florida frowns on one member LLCs, and so I

was encouraged to add a family member.” The only extent to which, in 2011, Florida frowned

on single-member limited liability companies was their susceptibility to execution following the

Florida Supreme Court’s decision in Olmstead v. FTC, 44 So. 3d 76 (Fla. 2010).




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        142.    The addition of any members was accomplished for the sole and actual purpose of

hindering and delaying creditors of the Debtors following the Debtors’ highly-leveraged buyout

of TutoringZone. Accordingly, the transfer was made with the intent to hinder, delay, or defraud

a creditor.

        143.    The transfer of any membership interest in TutoringZone was made to a statutory

insider, specifically a relative of Matthew Hintze.

        144.    The transfer did not affect the overall control structure of TutoringZone, with

Matthew Hintze exercising authority only as constrained by an agreement with other investors.

        145.    The Trustee reserves the right to amend this count in the event that other

undisclosed transfers are later identified in the course of discovery.

        WHEREFORE, the Trustee prays for a judgment avoiding any transfer of membership

interest in TutoringZone to Paul Hintze (and any other later-discovered transferee) and for such

other relief as is just and proper.

     Count VII - Fraudulent Transfer § 726.106(1) (TutoringZone additional members)

        146.    The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13,

14-23, and 44-65 above.

        147.    This is an adversary proceeding to recover property of the estate under

Bankruptcy Rule 7001(1). This count invokes the Trustee’s strong-arm authority under section

544(b)(1) to bring a claim for those creditors whose claims arose on or before May 27, 2011

under sections 726.106(1) and 726.108(1)(a) of the Florida Statutes.

        148.    This count is filed as a companion to Count IV and as an alternative to Count I.

Specifically, Count I seeks an actual declaration of the pre-petition ownership structure of




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TutoringZone, while Count IV addresses the conclusion that TutoringZone has some member

other than the Debtors.

        149.    This count incorporates the alternative factual finding in Count IV, based on the

Debtors’ assertions that Paul Hintze was a pre-petition member of TutoringZone and addresses

the consequences thereof. The Trustee asserts that this alternative pleading is without prejudice

to the Trustee’s actual position under Count I that no such transfer has occurred.

        150.    On the date of the May 27, 2011 settlement with Ethan Fieldman, Matthew Hintze

had a 100% interest in TutoringZone. Previously, only Matthew Hintze and Ethan Fieldman had

interests in TutoringZone.

        151.    On or about June 5, 2011, and in any event no earlier than May 27, 2011 within

two years of the filing of the Petition, Matthew Hintze caused to be transferred some undisclosed

portion of his interest in TutoringZone to Paul Hintze.

        152.    The Debtors did not receive reasonably equivalent value for the transfer because

Paul Hintze tendered nothing of value in exchange for the membership interest transferred.

        153.    At the time of the transfer, the Debtors were insolvent.

        154.    Accordingly, the transfer of any membership interest in TutoringZone was made

to a statutory insider, specifically a relative of Matthew Hintze.

        155.    The Trustee reserves the right to amend this count in the event that other

undisclosed transfers are later identified in the course of discovery.

        WHEREFORE, the Trustee prays for a judgment avoiding any transfer of membership

interest in TutoringZone to Paul Hintze (and any other later-discovered transferee) and for such

other relief as is just and proper.




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           Count IX - Declaratory Judgment (Post-petition TutoringZone actions)

       156.    The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13,

14-23, and 44-65 above.

       157.    This is an adversary proceeding to determine an interest in property and obtain a

declaratory judgment relating to the same under Bankruptcy Rule 7001(2), (9).

       158.    This count is filed as a companion to Count IV and as an alternative to Count I.

Specifically, Count I seeks an actual declaration of the pre-petition ownership structure of

TutoringZone, while Count IV addresses the conclusion that TutoringZone has some member

other than the Debtors.

       159.    This count incorporates the alternative factual finding in Count IV, based on the

Debtors’ assertions that Paul Hintze was a pre-petition member of TutoringZone and addresses

the consequences thereof. The Trustee asserts that this alternative pleading is without prejudice

to the Trustee’s actual position under Count I that no such transfer has occurred.

       160.    Based on the earlier counts, there is a bona fide dispute as to the pre-petition

ownership of TutoringZone. There is a corresponding bona fide dispute as to the authority of

TutoringZone to take action post-petition. Specifically, the Trustee believes that the Bankruptcy

Estate possesses the majority managerial control exercised by the Debtors in the June 2012 sale

of TutoringZone’s intellectual property and the Trustee has the right to exercise this managerial

control.

       161.    There is no formal operating agreement regulating governance of TutoringZone

and the majority interest possessed by the Debtors pre-petition is sufficient to make all necessary

managerial decisions without agreement of any other member.




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        162.   The pre-petition ownership structure of TutoringZone may have affected and will

affect administration of the estate because based on statements of the Debtor, it is likely that any

additional members of TutoringZone are acting under the guidance that the Trustee has no

managerial authority irrespective of the fractional interest of the Debtors in TutoringZone pre-

petition. Thus, members may have been acting without authority post-petition, as confirmed by

the attempted January 23, 2014 assignment. Accordingly, there is an actual and present need for

a declaration as to the post-petition management structure of TutoringZone and the validity of

any actions taken post-petition.

        163.   Such declaration deals with a present controversy with respect to an ascertainable

state of facts. Specifically, the Trustee asserts that a determination can be made as to which

person or persons believe that they have managerial control over TutoringZone and their actions

can be identified with discovery. That determination would be valid for all times post-petition.

        164.   The powers, privileges, and rights associated with managerial control of

TutoringZone, including but not limited to the right to settle or prosecute claims, as well as the

possible disposition of assets of TutoringZone, are dependent upon the facts or law applicable to

the facts.

        165.   There are persons who have, or reasonably may have an actual, present, adverse,

and antagonistic interest in the subject matter of this count. Specifically, Paul Hintze and Bruce

Hintze may claim interest in TutoringZone or in assets or TutoringZone and may seek to enforce

Florida law to exclude the Trustee from exercising managerial rights and privileges and from

voiding any prior actions taken.

        166.   All antagonistic and adverse interests that the Trustee has been made aware of—

the Debtors, Paul Hintze, and Bruce Hintze—are before the court to resolve the dispute. If any




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further adverse interests are identified, the Trustee fully intends to make persons with non-

frivolous assertions of interest parties to the dispute.

          WHEREFORE, the Trustee prays for a judgment declaring that the Trustee has, and has

had since the filing of the Petition, majority membership interest in TutoringZone sufficient and

necessary to exercise managerial rights succeeded by operation of law under 11 U.S.C. § 541 to

Theresa Bender as Trustee of the Bankruptcy Estate, including without limitation the right to

authorize TutoringZone to bring any action, a judgment voiding as ultra vires any actions taken

without the Trustee’s consent post-petition, a judgment voiding any action taken by any

transferee of any property of TutortingZone, and for such other and further relief as is just and

proper.

                     Count X - Breach of Duty of Care (Transfer of Claims)

          167.   The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13,

14-23, and 44-65 above.

          168.   This count is filed as a companion to Count IV and as an alternative to Count IX.

Specifically, Count I seeks an actual declaration of the pre-petition ownership structure of

TutoringZone, Count IV involves the alternative finding that some non-Debtor member of

TutoringZone exists, while Count IX seeks to nullify any purported actions taken on behalf of

TutoringZone. In the event that such actions are not unwound, the actions taken are nonetheless

a breach of duties owed to TutoringZone.

          169.   The Trustee brings this action on behalf of herself as a member of TutoringZone

and on behalf of TutoringZone.

          170.   The defendant Paul Hintze has taken actions to purportedly wind down the affairs

of TutoringZone, including but not necessarily limited to the January 23, 2014 assignment.




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       171.     The Trustee was not informed of such action prior to it purportedly taking place

and the Trustee did not authorize such action.

       172.     The Trustee has a controlling interest in the right to manage the affairs of

TutoringZone.     Paul Hintze has never communicated with the Trustee with respect to

TutoringZone.

       173.     In the event that Paul Hintze was authorized to take any action without

consultation of the controlling interest, such right, power, and authority would impose a duty of

care on Paul Hintze.

       174.     On January 9, 2014, the Bankruptcy Court approved a compromise of certain

claims initially raised by the Debtors and assumed by the Trustee as improperly asserted by the

Debtors. TutoringZone has claims parallel to those compromised based on investors’ relations

with TutoringZone.

       175.     The assignment of claims for the sum of $1,000 failed to achieve reasonably

equivalent value of the transferred claims, including by extension all claims raised below.

       176.     Paul Hintze acted intentionally or willfully to shield the Debtors from the

consequences of improper pre-petition actions and to ensure that an insider of the Debtors would

have the right to control the parallel claims. Such actions were not taken for the benefit of

TutoringZone but for the benefit of the Debtors and those associated with the Debtors.

       177.     In the alternative, Paul Hintze acted recklessly or grossly negligent by (1) failing

to properly investigate the value of the claims transferred; (2) failing to properly market the

claims transferred; (3) failing to inform the Trustee of the acts to be taken or solicit the advice of

the controlling interest in TutoringZone; (4) acting to dispose of assets disputed in a highly

contested bankruptcy matter in which multiple family members are involved.




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          178.   In so acting, Paul Hintze has knowledge concerning the disputed nature of the

entity and the Bankruptcy Estate that would make unwarranted any reliance upon advice of

others in determining the appropriateness of the sale.

          179.   In so acting, Paul Hintze acted in bad faith and otherwise inconsistent with his

duties to TutoringZone.

          180.   In so acting, Paul Hintze caused damage to TutoringZone and to the Bankruptcy

Estate.

          WHEREFORE, in the event that actions taken on behalf of TutoringZone are not

unwound, the Trustee and TutoringZone pray for a judgment against Paul Hintze awarding

damages and costs, and for such other and further relief as is just and proper.

                         Count XI - Civil Conspiracy/Constructive Trust

          181.   The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13,

14-23, and 44-65 above.

          182.   This count is filed as a companion to Count X and an alternative to Count IX.

This is a proceeding under state law related to the assets of the estate that would affect debtor-

creditor relationships. The Trustee brings this action on behalf of herself as a member of

TutoringZone and on behalf of TutoringZone against Bruce Hintze

          183.   Since the middle of 2013, if not even since the filing of the Petition, the status of

TutoringZone as a key asset of the Bankruptcy Estate has been the essence of this matter.

TutoringZone had been left a non-functioning shell based on the improper transactions

attempting to bifurcate its assets from its liabilities through this bankruptcy proceeding.




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          184.   Despite the highly contested nature of this asset and the clear forum to resolve

disputes, certain insiders of the Debtors have resorted to self-help remedies in a willful attempt to

frustrate the actions of the Trustee.

          185.   The defendant Bruce Hintze, despite failing to file a proof of claim in the

bankruptcy, attempted to participate by late filings prior to the anticipated sale of the Debtors’

membership interest in TutoringZone.         The Trustee was compelled to devote resources

overcoming Bruce Hintze’s unsupported objections.

          186.   The defendant Bruce Hintze has had sufficient knowledge of the proceedings to

know or have reason to know of the contested nature of certain assets such as TutoringZone.

          187.   Followingh the Trustee’s withdrawal of the Notice of Sale, Bruce Hintze

orchestrated a scheme to obtain the beneficial interest of TutoringZone for himself, to wit, its

claims. Bruce Hintze knew, or should have known, that Paul Hintze was without authority to

effectuate such transfer.

          188.   Paul Hintze and Bruce Hintze conspired with the Debtors to protect the Debtors,

family members of both Paul Hintze and Bruce Hintze, from further exposure or risk in the

bankruptcy by secreting the claims of TutoringZone from indirect administration. As part of this

conspiracy, Bruce Hintze and Paul Hintze agreed to orchestrate a sale of assets that would breach

Paul Hintze’s duty of care—assuming that Paul Hintze had any authority to begin with—to

TutoringZone.

          189.   Even if Paul Hintze would have arguably had the authority to effectuate such

transfer, the minimal value presented—indeed, in an amount far less than the legal fees paid by

any party for any substantial hearing to date—reflected a patently unreasonable value for such

assets.




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        190.    Such transfer would breach the implied promise to act in the best interests of the

corporation and any reliance thereon in authorizing Paul Hintze to have so acted on behalf of the

corporation.

        191.    The transfer reflected not an arms-length transaction to maximize the value of

TutoringZone for its creditors but a willful attempt to strip the shell of its last remaining assets to

the detriment of its creditors.

        192.    The overall effect of the conspiracy between the Paul Hintze and Bruce Hintze,

was to deprive TutoringZone of substantial value and to defraud its creditors.

        193.    A constructive trust should be imposed over any property transferred from Paul

Hintze to Bruce Hintze or other identified conspiring transferees, as well as any transfer of

property traceable thereto.

        WHEREFORE, in the event that actions taken on behalf of TutoringZone are not

unwound as void, the Trustee and TutoringZone pray for a judgment imposing a constructive

trust against any and all property disposed of by Paul Hintze post-petition, including but not

limited to the January 23, 2014 assignment of claims to Bruce Hintze, and for such other and

further relief as is just and proper.

                    Count XII - Objection to Discharge Under § 727(a)(4)(A)

        194.    The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13,

14-23, and 44-65 above.

        195.    This is an adversary proceeding to object to a discharge under Bankruptcy Rule

7001(4). Specifically, the Trustee brings the action under 11 U.S.C. § 727(a)(4)(A).

        196.    This count is filed as a companion to Counts II-IV and as an alternative to Count

I. Specifically, Count I seeks an actual declaration of the pre-petition ownership structure of




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TutoringZone, while Counts II-IV addresses the conclusion that TutoringZone had at the time of

the filing of the Petition some member other than Matthew Hintze.

       197.    In the event that TutoringZone is determined to have had some other member at

the time of the filing of the Petition, such a determination would conflict with multiple assertions

made by Matthew Hintze under oath and penalty of perjury, including the following:

                   a. The assertion on Schedule B of the Initial Schedules that Matthew Hintze

                       solely owned a 100% interest in TutoringZone, LC, as indicated by the

                       selection of “H” in response to the column requiring an identification of

                       property as “Husband, Wife, Joint, or Community.”

                   b. The failure to list any transfer of any interest in TutoringZone, LC

                       “transferred either absolutely or as security within two years immediately

                       preceding the commencement of this case” as required by Question 10 of

                       the Debtors’ Statement of Financial Affairs.

                   c. The statements made in his 2004 examination, in response to a direct

                       question, that Paul Hintze was never given any equity interest in

                       TutoringZone and that Larina Hintze had no ownership interest except on

                       the basis that she is the wife of Matthew Hintze.

       198.    The Debtors raised for the first time in the First Debtor Objection their assertion

that the 100% interest was a joint interest, presumably as between Matthew and Larina Hintze.

The First Debtor Objection did not disclose any interest of Paul Hintze and instead contended

that the Trustee only succeeded to the Debtors’ “right to receive distributions.”

       199.    The Debtors in their Amended Debtor Objection did not concretely state that Paul

Hintze was a member of TutoringZone. The Amended Debtor Objection merely stated that there




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were three members of TutoringZone according to documents filed with the Florida Division of

Corporations. As such, it is not clear that to date the Debtors have made a false statement or

oath.

        200.   If this Court were to find that an additional member of TutoringZone existed at

the time of the filing of the Petition, however, then the prior statements of Matthew Hintze under

oath would be false.

        201.   Any false statements of Matthew Hintze would have been made knowingly in

connection with the case. TutoringZone was, by the Debtors’ own assertion, the key asset of the

Debtors at that time. Matthew Hintze is a sophisticated and educated investor that has nearly

received a Ph.D. in finance and whose business involves tutoring others in finance. Accordingly,

he could be expected to recall whether ownership rights in this key asset were transferred at any

point. Moreover, Matthew Hintze could be expected to recall such a transfer when specifically

prompted with the issue of Paul Hintze’s interest in his 2004 examination.

        202.   Any false statements would be material because they bear a relationship to the

Debtors’s business transactions and concern the discovery of assets, business dealings, and

existence and disposition of the Debtors’ property. The participants here, including the Trustee

and the Court, have already expended significant resources addressing issues ancillary to

ownership. Such issues would have been more expeditiously addressed had proper information

been disclosed at the outset of the case.

        203.   The above facts are part of a pattern of behavior previously addressed by the

Bankruptcy Court in the Debtors’ assertion of certain counterclaims and third-party claims that

were not disclosed on the Debtors’ Petition. The unauthorized assertion of such claims has




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compelled the Trustee to intervene to enforce the rights of the Bankruptcy Estate and has

exposed the estate to additional unwarranted litigation for the strategic benefit of the Debtors.

       204.    Any false statements appear to have been made strategically, reserving the issue

of joint ownership for nearly fifteen months into the case and asserted for the first time

immediately before a crucial hearing in which the Debtors faced a nontrivial risk of the sale of

the membership interest in the entity.

       WHEREFORE, in the event that the Court determines that TutoringZone was owned by

some person other than Matthew Hintze, the Trustee prays for a judgment denying the Debtors

their discharge pursuant to 11 U.S.C. § 727(a)(4) and for such other and further relief as is just

and proper.

            Count XIII - Avoidance of Preferential Transfer (membership interest)

       205.    The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13

and 14-43 above.

       206.    This is an adversary proceeding to recover property of the estate under

Bankruptcy Rule 7001(1). This count invokes the Trustee’s avoidance powers under 11 U.S.C.

§ 547(b).

       207.    The June 2012 transaction made few changes to the tutoring business in shifting

from TutoringZone to TZ2. The key assets of the business, specifically the intellectual property

and key manpower, remained intact. Customers experienced a seamless transition because the

intellectual property transfer allowed TZ2 to use all marks and other indicia of TutoringZone’s

business. The only changes were that the business had a new owner and the business was “on

paper” no longer burdened by the debts incurred for ordinary business expenses and any practical

requirement to service investor debts owed by the Debtors.




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         208.    The June 2012 transaction involved no consideration to TutoringZone or from

TZ2, with the only substantial consideration being the forgiveness of debt flowing from Mr.

James to the benefit of the Debtors.

         209.    The former business creditors could assert successor liability claims against TZ2

on a de facto merger or continuation of business theory. The investor creditors may be denied

recovery by the Debtors’ bankruptcy, dischargeability and discharge claims notwithstanding.

         210.    Accordingly, the practical economic reality undergirding the formation of

TutoringZone II, LLC was not a transfer of intellectual property between TutoringZone and TZ2,

but instead the transfer of the membership interest in TutoringZone to Mr. James for a certain

consideration.

         211.    The practical economic reality of the transaction was an indirect method of

disposing of the membership interest in TutoringZone. The Debtors improperly exerted control

over TutoringZone to cause it to transfer its substantial assets while receiving no consideration.

         212.    The effective transfer of the membership interest in TutoringZone was for the

benefit of a creditor, Mr. James, whose full ownership of TZ2 vested him with a substantial

asset.

         213.    The debt forgiveness demonstrates that the transfer occurred for or on account of

an antecedent debt owed by the Debtor, to wit the debt represented by Claim 22 and originating

on November 10, 2010 as further supplemented.

         214.    The Debtors were insolvent at the time of the transfer.

         215.    Mr. James was a friendly creditor, a long-time family friend, a former instructor

and advisor to Matthew Hintze, and trusted to preserve the rights and assets of the Debtors




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through the above-described abnormal and improper transactions. Mr. James qualifies as a non-

statutory insider for the purposes of the Bankruptcy Code.

        216.    The transfer to, and for the benefit of, an insider occurred between ninety days

and one year before the date of the filing of the Petition.

        217.    The receipt of the value of TutoringZone permitted Mr. James to obtain more than

he would have in a liquidation had the transfer not been made, even assuming that Mr. James had

timely filed his proof of claim and not been relegated to junior position in the administrative case

pursuant to 11 U.S.C. § 726(a)(3). Specifically, the transfer allowed Mr. James to extract value

from an otherwise insolvent entity while the balance of the Bankruptcy Estate offers little

liquidation value.

        218.    The transfer provided no new value to the Debtors and was not in the ordinary

course of business or financial affairs of the Debtor and the transferee. Similarly, the transfer

was not made according to ordinary business terms.

        219.    The aggregate value of all property affected by the transfer exceeds $5,000.

        WHEREFORE, the Trustee prays for a judgment avoiding the above-referenced transfers

dated in 2012 between the either or both of the Debtors, TutoringZone, TZ2, and Mr. James and

for such other relief as is just and proper.

           Count XIV - Fraudulent Transfer § 548(a)(1)(A) (membership interest)

        220.    The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13

and 14-43 above.

        221.    This is an adversary proceeding to recover property of the estate under

Bankruptcy Rule 7001(1). This count invokes the Trustee’s avoidance powers under 11 U.S.C.

§ 548(a)(1)(A).




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       222.      The June 2012 transaction made few changes to the tutoring business in shifting

from TutoringZone to TZ2. The key assets of the business, specifically the intellectual property

and key manpower, remained intact. Customers experienced a seamless transition because the

intellectual property transfer allowed TZ2 to use all marks and other indicia of TutoringZone’s

business. The only changes were that the business had a new owner and the business was “on

paper” no longer burdened by the debts incurred for ordinary business expenses and any practical

requirement to service investor debts owed by the Debtors.

       223.      The June 2012 transaction involved no consideration to TutoringZone or from

TZ2, with the only substantial consideration being the forgiveness of debt flowing from Mr.

James to the benefit of the Debtors.

       224.      The former business creditors could assert successor liability claims against TZ2

on a de facto merger or continuation of business theory. The investor creditors may be denied

recovery by the Debtors’ bankruptcy, dischargeability and discharge claims notwithstanding.

       225.      Accordingly, the practical economic reality undergirding the formation of

TutoringZone II, LLC was not a transfer of intellectual property between TutoringZone and TZ2,

but instead the transfer of the membership interest in TutoringZone to Mr. James for a certain

consideration.

       226.      The practical economic reality of the transaction was an indirect method of

disposing of the membership interest in TutoringZone. The Debtors improperly exerted control

over TutoringZone to cause it to transfer its substantial assets while receiving no consideration.

       227.      The transfer was incurred with actual intent to hinder, delay, or defraud those

investor creditors that declined to participate in the improper transaction. The Debtors intended

to effectively continue the business but discard liabilities through personal bankruptcy, even




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though the business assets would have otherwise been available in bankruptcy but for the

transfer.

        228.    Any earlier transactions purporting to place any lien on the substantial assets of

TutoringZone in exchange for plainly insufficient operating capital were part of this overall

scheme.

        229.    The Debtors were insolvent at the time of the transfer and had contemplated

personal bankruptcy as a mechanism for “saving” the business for some time prior to executing

the scheme.

        230.    Mr. James was a friendly creditor, a long-time family friend, a former instructor

and advisor to Matthew Hintze, and trusted to preserve the rights and assets of the Debtors

through the above-described abnormal and improper transactions. Mr. James qualifies as a non-

statutory insider for the purposes of the Bankruptcy Code.

        231.    The Debtors orchestrated the timing of the filing of the Petition to fall outside the

standard ninety-day window for preferential transfers.

        232.    The Debtors retained effective day-to-day control of the operation of TZ2 and Mr.

James remained only a passive investor.

        233.    The value of the consideration received was not reasonably equivalent to the

value of the assets improperly transferred.

        WHEREFORE, the Trustee prays for a judgment avoiding the above-referenced transfers

dated in 2012 between the Debtors, TutoringZone, Mr. James, and Cynthia Frenchman, and for

such other relief as is just and proper.

            Count XV - Fraudulent Transfer § 548(a)(1)(B) (membership interest)




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       234.      The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13

and 14-43 above.

       235.      This is an adversary proceeding to recover property of the estate under

Bankruptcy Rule 7001(1). This count invokes the Trustee’s avoidance powers under 11 U.S.C.

§ 548(a)(1)(B).

       236.      The June 2012 transaction made few changes to the tutoring business in shifting

from TutoringZone to TZ2. The key assets of the business, specifically the intellectual property

and key manpower, remained intact. Customers experienced a seamless transition because the

intellectual property transfer allowed TZ2 to use all marks and other indicia of TutoringZone’s

business. The only changes were that the business had a new owner and the business was “on

paper” no longer burdened by the debts incurred for ordinary business expenses and any practical

requirement to service investor debts owed by the Debtors.

       237.      The June 2012 transaction involved no consideration to TutoringZone or from

TZ2, with the only substantial consideration being the forgiveness of debt flowing from Mr.

James to the benefit of the Debtors.

       238.      The former business creditors could assert successor liability claims against TZ2

on a de facto merger or continuation of business theory. The investor creditors may be denied

recovery by the Debtors’ bankruptcy, dischargeability and discharge claims notwithstanding.

       239.      Accordingly, the practical economic reality undergirding the formation of

TutoringZone II, LLC was not a transfer of intellectual property between TutoringZone and TZ2,

but instead the transfer of the membership interest in TutoringZone to Mr. James for a certain

consideration.




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        240.     The practical economic reality of the transaction was an indirect method of

disposing of the membership interest in TutoringZone. The Debtor(s) improperly exerted control

over TutoringZone to cause it to transfer its substantial assets while receiving no consideration.

        241.     The $200,000 in debt forgiveness was not reasonably equivalent value in

exchange for the transfer of the membership interest based on (1) the prospective future

profitability of the membership interest; (2) the unlikelihood of substantial debt collection given

the Debtors’ impending bankruptcy; and (3) the effective segregation of the beneficial value of

the membership interest from its liabilities.

        242.     The Intellectual Property Lease and any earlier transactions purporting to place

any lien on the substantial assets of TutoringZone in exchange for plainly insufficient operating

capital were part of this overall scheme. The additional consideration failed to approximate

reasonably equivalent value for the transaction because the consideration of the Intellectual

Property Lease was effectively pro-rata over a ten year period and the parties executed the

agreement in contemplation of the Intellectual Property Transfer Agreement within only a few

months.

        243.     The Debtors were insolvent at the time of the transfer and had contemplated

personal bankruptcy as a mechanism for “saving” the business for some time prior to executing

the scheme.

        WHEREFORE, the Trustee prays for a judgment avoiding the above-referenced transfers

dated in 2012 between the Debtors, TutoringZone, Mr. James, and Cynthia Frenchman, and for

such other relief as is just and proper.

               Count XVI - Rescission (Intellectual Property Transfer Agreement)




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        244.   The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13

and 14-43 above.

        245.   This is a proceeding under state law related to the assets of the estate that would

affect debtor-creditor relationships. This action is brought on behalf of TutoringZone as the

plaintiff and TutoringZone II, LLC and Christopher M. James as the defendants.

        246.   On or about June 4, 2012, the Intellectual Property Transfer Agreement was

executed between TutoringZone and TZ2. Pursuant to this agreement, TZ2 has been carrying on

the former business of TutoringZone using its intellectual property and business marks since that

time.

        247.   The Intellectual Property Transfer Agreement defined the consideration for the

transaction as “$200,000 and other valuable consideration, which is agreed and accepted by the

Parties to be full and adequate consideration for the Sale (the Consideration). The payment of

the Consideration shall be offset and credited by any amounts owed by Seller to Christopher M.

James.”

        248.   The Parties were defined in the Intellectual Property Transfer Agreement as

TutoringZone as the Seller and TZ2 as the Buyer.

        249.   TutoringZone received no money from the transfer of intellectual property, which

was effectively the “whole consideration” of the contract.        But for the improper scheme,

TutoringZone as operated in good faith would not have transferred its intellectual property

absent some reasonably equivalent value for the transfer.

        250.   Instead, the benefit flowed from Mr. James to the Debtors in the form of debt

forgiveness.




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       251.    Matthew Hintze violated his duty of loyalty and care and exerted undue influence

on TutoringZone in compelling it to part with its substantial assets for no consideration.

Matthew Hintze executed such transfer documents willfully as part of an artifice or scheme to

defraud creditors. In any event the transfer without consideration would have been grossly

negligent or reckless conduct in the stewardship of TutoringZone.

       252.    The circumstances demand equitable intervention in the form of rescission of the

Intellectual Property Transfer Agreement. For total failure of consideration, the contract remains

voidable at the discretion of TutoringZone.

       253.    Mr. James remains jointly and severally liable on the Intellectual Property

Transfer Agreement because he executed it as “organizer and managing member” for TZ2 in

advance of its valid formation under the laws of the State of Florida where TutoringZone had no

actual knowledge of this fact.

       WHEREFORE, TutoringZone prays for a judgment voiding the Intellectual Property

Transfer Agreement, and for such other relief as is just and proper.

       Count XVII - Breach of Contract (Intellectual Property Transfer Agreement)

       254.    The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13

and 14-43 above.

       255.    This is a proceeding under state law related to the assets of the estate that would

affect debtor-creditor relationships. This action is brought on behalf of TutoringZone as the

plaintiff and TutoringZone II, LLC and Christopher M. James as the defendants.

       256.    This count is brought as an alternative to Count XVI to the extent that the Court

declines equitable remedies in favor of a money judgment.




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        257.   On or about June 4, 2012, the Intellectual Property Transfer Agreement was

executed between TutoringZone and TZ2. Pursuant to this agreement, TZ2 has been carrying on

the former business of TutoringZone using its intellectual property and business marks since that

time.

        258.   The Intellectual Property Transfer Agreement defined the consideration for the

transaction as “$200,000 and other valuable consideration, which is agreed and accepted by the

Parties to be full and adequate consideration for the Sale (the “Consideration”). The payment of

the Consideration shall be offset and credited by any amounts owed by Seller to Christopher M.

James.”

        259.   The Parties were defined in the Intellectual Property Transfer Agreement as

TutoringZone as the Seller and TZ2 as the Buyer.

        260.   TutoringZone received no money from the transfer of intellectual property, which

was effectively the “whole consideration” of the contract.        But for the improper scheme,

TutoringZone as operated in good faith would not have transferred its intellectual property

absent some reasonably equivalent value for the transfer.

        261.   Instead, the benefit flowed from Mr. James to the Debtors in the form of debt

forgiveness.

        262.   Matthew Hintze violated his duty of loyalty and care and exerted undue influence

on TutoringZone in compelling it to part with its substantial assets for no consideration.

Matthew Hintze executed such transfer documents willfully as part of an artifice or scheme to

defraud creditors. In any event the transfer without consideration would have been grossly

negligent or reckless conduct in the stewardship of TutoringZone.




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       263.    The circumstances demand equitable intervention in the form of rescission of the

Intellectual Property Transfer Agreement. For total failure of consideration, the contract remains

voidable at the discretion of TutoringZone.

       264.    Mr. James remains jointly and severally liable on the Intellectual Property

Transfer Agreement because he executed it as “organizer and managing member” for TZ2 in

advance of its valid formation under the laws of the State of Florida where TutoringZone had no

actual knowledge of this fact.

       265.    In the event that the Court determines rescission to be an inappropriate remedy,

TutoringZone demands the full consideration owed under the Intellectual Property Transfer

Agreement.

       WHEREFORE, TutoringZone prays for a money judgment against Tutoring Zone II,

LLC and Christopher M. James, and for such other relief as is just and proper.

                    Count XVIII - Rescission (Intellectual Property Lease)

       266.    The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13

and 14-43 above.

       267.    This is a proceeding under state law related to the assets of the estate that would

affect debtor-creditor relationships. This action is brought on behalf of TutoringZone as the

plaintiff and Christopher M. James and Cynthia L. Frenchman as the defendants.

       268.    On or about May 22, 2012, the Intellectual Property Lease was executed between

TutoringZone and Mr. James and Ms. Frenchman. Pursuant to this agreement, Mr. James and

Ms. Frenchman received the a non-exclusive license to use the business marks and all tutoring

materials, including all reproduction, modification, publishing, distribution, and leasing rights

“that might reasonably be required to market, sell, and deliver tutoring services.”




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       269.    Neither Mr. James nor Ms. Frenchman intended to develop any independent

tutoring business. Instead, the Intellectual Property Lease was executed as a prelude to and in

full contemplation of the eventual sale of intellectual property.

       270.    Because sale and the Debtors’ bankruptcy was contemplated, there was no

ordinary purpose in executing the lease and all the parties knew that the purported $75,000

consideration would be no more than an effective offset against the eventual debt forgiveness

embodied in the Intellectual Property Transfer Agreement.

       271.    Upon information and belief, TutoringZone did not receive any benefit of any

funds disbursed as a result of the Intellectual Property Lease, which went solely to the benefit of

the Debtors as consistent with the parties’ treatment of the Intellectual Property Transfer

Agreement. This was effectively the “whole consideration” of the contract.

       272.    Matthew Hintze violated his duty of loyalty and exerted undue influence on

TutoringZone in executing the agreement. There was no practical ability to expand the business

or mark under the circumstances, and the Intellectual Property Lease is more appropriately

characterized as a sham prelude to the Intellectual Property Transfer Agreement.

       273.    Upon information and belief, the Intellectual Property Lease may have been

terminated with the execution of the Intellectual Property Transfer Agreement. In the event that

it was not, the circumstances demand equitable intervention in the form of rescission of the

Intellectual Property Transfer Agreement. For total failure of consideration, the contract remains

voidable at the discretion of TutoringZone.

       WHEREFORE, TutoringZone prays for a judgment voiding the Intellectual Property

Lease, and for such other relief as is just and proper.




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                                   Count XIX - Civil Conspiracy

         274.     The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13,

14-43, 246-251, 257-262, and 268-273 above.

         275.     This is a proceeding under state law related to the assets of the estate that would

affect debtor-creditor relationships.     This action is brought by the Trustee as member of

TutoringZone and by TutoringZone against Mr. James and TZ2.

         276.     Mr. James and TZ2 conspired with the Debtors to strip TutoringZone of its

substantial assets in an effort to create a continuing business interest devoid of TutoringZone’s

liabilities.    As part of this conspiracy, the Intellectual Property Lease and the Intellectual

Property Transfer Agreement were executed and Matthew Hintze came to work for TZ2 as

owned by Mr. James.

         277.     Matthew Hintze began working for TZ2 after the execution of the Intellectual

Property Transfer Agreement.

         278.     At the time that Matthew Hintze began working for TZ2, he was still a manager

of TutoringZone. As a manager, Matthew Hintze owed a duty of loyalty to TutoringZone to

refrain from competing with TutoringZone in the conduct of its tutoring business.

         279.     By working for TZ2, Matthew Hintze breached this duty of care, causing damages

to TutoringZone.

         280.     By transferring the substantial assets and directing the migration of key personnel

from TutoringZone to TZ2, at the direction of and with the agreement of Mr. James and TZ2,

Matthew Hintze breached his duty of care to refrain from engaging in grossly negligent or

reckless conduct in the management of TutoringZone, as well as his duty of care to refrain from

intentional misconduct.




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       281.    The overall effect of the conspiracy between the Debtors, Mr. James, and TZ2,

was to deprive TutoringZone of substantial value and to defraud its creditors.

       WHEREFORE, the Trustee and TutoringZone pray for a money judgment against

Tutoring Zone II, LLC and Christopher M. James, and for such other relief as is just and proper.

            Count XX - Determination of Validity of Lien (James-TutoringZone)

       282.    The Trustee adopts and re-alleges the allegations contained in paragraphs 1-13

and 14-43 above.

       283.    This is an adversary proceeding to determine an interest in property and obtain a

declaratory judgment relating to the same under Bankruptcy Rule 7001(2), (9).

       284.    Florida law is applicable to determine the validity and extent of the alleged lien

because the parties are Florida residents, all relevant agreements were executed in Florida and

the alleged security interest was registered in Florida.

       285.    There is a bona fide dispute as to validity of the purported lien that Mr. James has

over the assets of TutoringZone. By filing his UCC-1 filing, Mr. James asserts that such a

security interest exists. The Trustee asserts that the only debts owed to Mr. James were owed by

the Debtors, that all other business as between Mr. James or entities controlled by Mr. James and

TutoringZone were transactions in which monetary consideration allegedly flowed from Mr.

James, not to him.

       286.    Moreover, at the time of the UCC-1 filing, Mr. James had reason to know that

TutoringZone did not possess certain key assets that were purportedly encumbered. The Trustee

asserts that the UCC-1 filing was a mere failsafe to further cloud title and dissuade interested

parties from bringing appropriate fraudulent transfer actions.




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        287.    The validity of the lien will affect administration of the estate because of the

obligation of the Trustee to administer and wind-down TutoringZone as a non-functioning entity

and pay its claims accordingly. Accordingly, there is an actual and present need for a declaration

as to the post-petition management structure of TutoringZone and the validity of any actions

taken post-petition.

        288.    Such declaration deals with a present controversy with respect to an ascertainable

state of facts. Specifically, whether a debt supporting a security interest existed, whether a

security interest was actually created, and whether the security interest was properly perfected

can all be determined by the application of facts to the law.

        289.    The powers, privileges, and rights associated with claimant priority of

TutoringZone are dependent upon the facts or law applicable to the facts.

        290.    There are persons who have, or reasonably may have an actual, present, adverse,

and antagonistic interest in the subject matter of this count. Specifically, Mr. James may claim a

security interest in the assets of TutoringZone and may seek to enforce Florida law to establish

priority over other claimants.

        291.    All antagonistic and adverse interests that the Trustee has been made aware of—

the Debtors and Mr. James—are before the court to resolve the dispute. If any further adverse

interests are identified, the Trustee fully intends to make persons with non-frivolous assertions of

interest parties to the dispute.

        WHEREFORE, the Trustee prays for a judgment declaring that Christopher James holds

no security interest over any property of TutoringZone, and for such other and further relief as is

just and proper.




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DATED this 14th day of April, 2014.

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